Case 3:17-cv-00072-NKM-JCH Document 411 Filed 02/12/19 Page 1 of 1 Pageid#: 3826



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


                                                            Action No: 3:17CV00072
   Elizabeth Sines, et al                                   Date: 2/12/2019
   vs.                                                      Judge: Joel C. Hoppe, USMJ
                                                            Court Reporter: H. Wheeler/FTR
   Jason Kessler, et al
                                                            Deputy Clerk: Heidi N. Wheeler



   Plaintiff Attorney(s)                            Defendant Attorney(s)
   Gabrielle Tenzer (with Christopher Greene)       James Kolenich
   Jessica Phillips                                 John DiNucci
   Alan Levine ( with Michael Bloch )               Bryan Jones
                                                    David Campbell



                                      LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                            DEFENDANT:
   1.




  PROCEEDINGS:
  TELEPHONIC DISCOVERY HEARING 12:31-1:00= 29 MIN

  Parties appearing by telephone conference to address discovery issues relating to 3rd party
  vendors, electronic devices and review of documents.

  Final matters addressed.

  Further hearing to be held next Thursday at 3:00 pm.
